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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. 12-104-BAT

10          v.                                           DETENTION ORDER

11 JEFF T. JEWETT,

12                                Defendant.

13 Offenses charged:

14          Bank Fraud and Aggravated Identity Theft.

15 Date of Detention Hearing: March 6, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          The government proffered: Defendant gave false information to the pretrial office about

23 where he lived claiming he lived at Larch Street when the evidence based on a search showed he



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 1 lived at Oaks Avenue. This claim is bolstered by the government’s claim that defendant

 2 provided local law enforcement with different addresses in 2011. The government indicated that

 3 a witness at the Oaks Avenue residence indicated that Defendant was on the verge of leaving the

 4 state indicating the intent to flee prosecution. Based on the search conducted in this case the

 5 government’s case is strong. Defendant is a danger as he as the skills to continue committing the

 6 alleged crimes and his criminal history indicates a long standing pattern of committing fraud and

 7 ID related crimes. Defendant also has significant substance abuse problems.

 8          It is therefore ORDERED:

 9          (1)    Defendant shall be detained pending trial and committed to the custody of the

10 Attorney General for confinement in a correctional facility separate, to the extent practicable,

11 from persons awaiting or serving sentences, or being held in custody pending appeal;

12          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

13 counsel;

14          (3)    On order of a court of the United States or on request of an attorney for the

15 Government, the person in charge of the correctional facility in which Defendant is confined

16 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

17 connection with a court proceeding; and

18          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

19 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

20 Officer.

21       DATED this 6th day of March, 2012.

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23
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge


     DETENTION ORDER - 2
